382 F.2d 540
    FOUST INVESTMENT COMPANY, Inc., a Debtor, Appellant,v.CREST INVESTMENT TRUST, INCORPORATED, and Maryland Holding Company, Incorporated, Appellees.In the Matter of Foust Investment Company, Inc., a Debtor.
    No. 11239.
    United States Court of Appeals Fourth Circuit.
    Argued May 5, 1967.
    Decided August 29, 1967.
    
      Woodrow E. Faulkner, Washington, D. C. (Ralph R. Curry, Arlington, Va., on brief), for appellant.
      Irving Bowers, Baltimore, Md., for Crest Investment Trust, Inc.
      Before HAYNSWORTH, Chief Judge, and BOREMAN and WINTER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Foust Investment Company, Inc., filed its petition for a reorganization under Chapter X of the Bankruptcy Act in the District Court at Alexandria, Virginia. Foust is a Virginia corporation whose principal assets consist of an old, nonoperating, dilapidated distillery in Glen Rock, Pennsylvania, and certain distilling equipment. No plan of reorganization was disclosed and no current financial statement indicating insolvency was ever presented to the court. After an oral hearing leave was granted to file a current and up-to-date financial statement disclosing the true financial condition of the corporation but no such statement was filed. The petition was dismissed primarily for failure of petitioner to comply with 11 U.S.C. § 530(4), (6), (7), and for lack of a showing of good faith in compliance with 11 U.S.C. § 541.
    
    
      2
      Upon consideration of the record, briefs and arguments of counsel we cannot say that the court erred in dismissing the petition.
    
    
      3
      Affirmed.
    
    